FILED
JOHN PHEHMAN

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO aqjy jut-8 PH 4&5
WESTERN DIVISION

MICHAET P°NECOY N

MOTION TO SEAL DOCUMENTS

SEALED DOCUMENT

 

Now comes the United States Attorney and moves this court, pursuant to its inherent
power to control papers filed with the Court, for a protective order sealing this Motion to Seal,
Order to Seal, and the foregoing Search and Seizure Warrant, Application and Affidavit,
Return and Motion and Order to Provider Not to Notice Subscriber until otherwise directed by
this Court.

In support of this Motion, the United States Attorney states that the disclosure of this
Motion to Seal, Order to Seal, and the foregoing Search and Seizure Warrant, Application and
Affidavit, Return and Motion and Order to Provider Not to Notice Subscriber is not
warranted due to the ongoing investigation.

WHEREFORE, the United States of America respectfully requests that this Motion to
Seal, Order to Seal, and the foregoing Search and Seizure Warrant, Application and Affidavit,
Ht
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Return and Motion and Order to Provider Not to Notice Subscriber be sealed and kept from

public inspection until otherwise ordered by this Court.

Respectfully submitted,

CARTER M. STEWART
United States Attorney

s/Alex R. Sistla

 

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